
Hah, Judge. —
M’Kerall, the first husband of the Defendant Mrs. Child, part of whose estate is now sought after, died about the year 1776 ; his residence was at Norfolk, in the State of Virginia. Early in the revolutionary war, his widow and children removed to Hills-borough, in this State. In the year 1793, when the parties were of full age, a settlement was made between them by two persons chosen for that purpose. In this settlement, Mrs. Child was debited with a certain sum of money received from Nevison, the witness, a resident of Norfolk. Nineteen years afterwards, the present Bill was filed. The Complainants allege, that Mrs. Child .received a larger sum of money from -Nevison than she was debited with in the settlement, and that they did not become acquainted with that fact, until within six months before the suit was brought. They give us no reason, however, why they did not become, acquainted with it. *384JV'evison was as easy of access then as afterwards; facts could have been established with more certainty then, than nineteen or more years afterwards. The mind and memory of Mrs. Child, who is now well stricken in years, was then much nearer their wonted vigour.
For these reasons, I have but little hesitation in saying, that the Bill ought to be dismissed with costs.
Bx the Court,
Bibb dismissed with Costs.
